Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 1 of 22



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                         Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                 DR. CRAIG WRIGHT’S CORRECTED NOTICE OF FILING
                      ADDITIONAL PROPOSED JURY INSTRUCTION

         Dr. Craig Wright hereby gives notice of filing his corrected notice of additional proposed
  jury instructions per the Court’s instructions given during trial on November 19, 2021. The
  additional proposed jury instructions are attached, and the additions have been made in track
  changes for the Court’s convenience. Any proposed additions have been underlined while
  deletions are in strike through.


  Dated: November 20, 2021

                                                      Respectfully submitted,

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                                                      By: s/ Amanda McGovern
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                                                      Florida Bar No. 96426


                                                 1
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 2 of 22




                                                      ANDRES RIVERO
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                                                      ZAHARAH MARKOE
                                                      Florida Bar No. 504734
                                                      SCHNEUR KASS
                                                      Florida Bar No. 100554
                                                      Counsel for Dr. Craig S. Wright



                                  CERTIFICATE OF SERVICE

          I CERTIFY that on November 20, 2021, I electronically filed this document with the Clerk
  of the Court using CM/ECF. I also certify that the foregoing document is being served this day on
  all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                       /s/ Amanda McGovern




                                                 2
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 3 of 22




                                             Conversion

         Plaintiffs have each alleged a claim for conversion against Dr. Wright.
         Ira Kleiman claims that Dr. Wright is responsible for the conversion, or wrongful
  taking, of bitcoins and Bitcoin-related intellectual property that belonged to the alleged oral
  partnership between Dave Kleiman and Dr. Wright, which allegedly existed from sometime in
  2008 through February 2011.
         W&K, which was formed in February 2011 and administratively dissolved in 2012,
  claims that Dr. Wright is responsible for the conversion, or wrongful taking, of bitcoins and
  Bitcoin-related intellectual property that belonged to it.
         Conversion means a distinct act of control wrongfully asserted over another’s personal
  property in a manner that is inconsistent with the other’s right to that property. There are a
  number of ways that conversion can occur, such as intentionally dispossessing another of the
  property, using the property without authority, or disposing of the property by selling,
  pledging, gifting, or leasing it.
  Structure of Claim:
         To establish this claim, the Ira Kleiman and W&K must each prove, by a
  preponderance of the evidence, that:
         (1) Dr. Wright wrongfully asserted dominion over bitcoins and intellectual property;
         (2) This property belonged to Dave Kleiman’s estate and W&K, respectively; and
         (3) Dr. Wright’s action was inconsistent with the estate’s or W&K’s ownership.
         Also, in an action for conversion of money, such as bitcoins, the money must be
  specific money that is capable of identification and not simply a general assertion over an
  amount of money owed.
         If you find that Ira Kleiman and W&K failed to prove, by a preponderance of the
  evidence, each element of conversion, you must return a verdict in favor of Dr. Wright. On the
  other hand, if you find for one or both of the plaintiffs on the claim of conversion, you will
  then consider the issue of the amount of money damages to be awarded to Ira Kleiman and
  W&K, separately.
  Damages for Conversion
  The damages must be the market value at the time of the conversion of the specific bitcoins
  and intellectual property that plaintiffs have identified, rather than just a general claim for an


                                                   3
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 4 of 22




  amount of bitcoins or unspecified intellectual property at other unrelated points in time.
  Punitive Damages:
         If you find for plaintiffs and against Dr. Wright for conversion, you must decide
  whether, in addition to compensatory damages, punitive damages are warranted as
  punishment to Dr. Wright as a deterrent to others. Under Florida law, you may also award
  punitive damages for a conversion claim. An award of punitive damages may not exceed the
  greater of three times the amount of compensatory damages awarded to each claimant entitled
  thereto, or $500,000.
         Punitive damages are a form of extraordinary relief for acts and omissions so
  egregious as to jeopardize not only the particular plaintiff in the lawsuit, but the public as a
  whole, such that a punishment—not merely compensation—must be imposed to prevent
  similar conduct in the future.
         You may only award punitive damages if you determine, based on clear and convincing
  evidence, that Dr. Wright personally committed intentional misconduct or gross negligence,
  which was the proximate cause of the plaintiffs’ loss.
         “Intentional misconduct” means that Dr. Wright had actual knowledge of the
  wrongfulness of his conduct and the high probability that injury to Dave Kleiman’s estate and
  W&K would result and, despite that knowledge, intentionally pursued that course of conduct.
  “Gross negligence” means that the conduct was so reckless that it constituted a conscious
  disregard or indifference to the life, safety, or rights of Dave Kleiman’s estate and W&K. If
  clear and convincing evidence does not show such conduct by Dr, Wright, then punitive
  damages are not warranted. Please remember that the clear and convincing evidence standard
  that you must apply is a higher standard than the preponderance of the evidence standard,
  and requires you to conclude that the claim is highly probable or reasonably certain, not
  merely more likely true than not true. Clear and convincing evidence is evidence that is
  precise, explicit, lacking in confusion, and of such weight that it produces a firm belief or
  conviction, without hesitation, about the matter in issue.



  ________________________
  Authorities:




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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 5 of 22




  Joe Hand Promotions, Inc. v. Creative Enter., LLC, 978 F.Supp.2d 1236, 1241 (M.D. Fla. 2013)
  (quoting Joe Hand Promotions, Inc. v. Hart, 2012 WL 1289731, *2-3 (S.D. Fla. 2012));BDO
  Seidman, LLP v. Banco Espirito Santo Int’l, 38 So. 3d 874, 876 (Fla. 3d DCA 2010); Warshall v.
  Price, 629 So.2d 903, 904 (Fla. 4th DCA 1993); Navid v. Uiterwyk Corp., 130 B.R. 594, 595
  (M.D. Fla. 1991); Talbot v. Rosenbaum, 142 So. 3d 965, 968 (Fla. 4th DCA 2014); Exxon Corp.
  v. Ward, 438 So. 2d 1059, 1059 (Fla. 4th DCA 1983); Saewitz v. Saewitz, 79 So. 3d 831, 833
  (Fla. 3d DCA 2012); Pain Care First of Orlando, LLC v. Edwards, 84 So. 3d 351, 354 (Fla. 5th
  DCA 2012); Fla. Stat. §§ 768.72; Florida Standard Jury Instructions in Civil Cases, Personal
  Injury and Property Damages: Introduction 501.1(b); Punitive Damages – Non-Bifurcated
  Procedure 503.2, August 29, 2019.

  GIVEN                                      ___________________________
  GIVEN AS MODIFIED                          ___________________________
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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 6 of 22




                                     Breach of Fiduciary Duties

         Ira Kleiman, as personal representative for the estate of Dave Kleiman, and W&K
  claims that Dr. Wright breached a fiduciary dutyies owed to each of themit. I will now explain
  how this claim is structured. Under Florida law, there are three elements, which I will explain
  to you, that must be proved in order to find there was a breach of fiduciary duty, These
  elements are that:
         (1) a fiduciary duty existed;
         (2) that duty was breached; and
         (3) the plaintiffs suffered damages that were proximately caused by that breach.
  Fiduciary Duty
         A “fiduciary” duty exists when one person places special trust and confidence in
  another person who knowingly accepts that trust and confidence and thereafter undertakes to
  act on behalf of the other party. In other words, a fiduciary duty is an obligation to act in the
  best interest of another party. A mere friendship, alone, is not sufficient to establish a
  fiduciary relationship. Some examples of relationships involving a fiduciary duty include
  attorney/client, trustee/beneficiary, and corporate board member/company shareholders. If a
  relation of trust and confidence exists between the parties (that is to say, where special trust
  and confidence is reposed by one party in another, who accepts it, or where confidence has
  been acquired and abused), that is sufficient as a predicate for relief. Under Florida law, a
  manager of a manager-managed limited liability company or member of a member-managed
  limited liability company owes fiduciary duties of loyalty and care to the limited liability
  company.
  Breach of Fiduciary Duty
         When someone has a duty to act in the best interest of another party, but intentionally,
  recklessly, or grossly negligently acts contrary to that obligation, it is called a breach of
  fiduciary duty.
         If plaintiffs W&K proves that Dr. Wright owed them it a fiduciary duty, to prove a
  breach of that duty, they W&K must demonstrate that Dr. Wright committed one or more of
  the following acts:




                                                    6
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 7 of 22




         1. A violation of the criminal law, unless Dr. Wright had a reasonable cause to believe
  his conduct was lawful or had no reasonable cause to believe his conduct was unlawful;
         2. A transaction from which the manager or member of the limited liability company
  derived an improper personal benefit, directly or indirectly;
         3. In a proceeding by or in the right of the limited liability company, to procure a
  judgment in its favor, or by or in the right of a member, in conscious or willful disregard of
  the best interests of the limited liability company; or
         4. In a proceeding by or in the right of someone other than the limited liability
  company or a member, to commit an act or omission in bad faith, or with malicious purpose,
  or recklessly, or in a manner exhibiting wanton and willful disregard of human rights, safety,
  or property. The term “recklessness” means acting or failing to act in conscious disregard of a
  risk known or so obvious it should have been known, and a risk so great as to make it highly
  probable that harm would proximately result from the act or failure to act.
         The circumstances set forth above are not exclusive and do not preclude the existence
  of other circumstances in which a manager of a manager-managed limited liability company
  or a member in a member-managed limited liability company will be deemed to have breached
  a fiduciary duty.
  Damages Proximately Caused by the Breach
         The breach of fiduciary duty must be the proximate cause of the damage. For an act or
  course of dealing to be the proximate cause of damage, it must be proved that the act or course
  of dealing played a substantial part in producing the injury or damage, that if such conduct
  hadn’t occurred, the injury or damage would not have occurred, and that the injury or
  damage was the necessary or proximate result of the act or course of dealing.
         If you find that Ira Kleiman and W&K did not carry their its burden of proving all the
  elements of a breach of fiduciary duty claim that I have just explained to you, then you must
  return a verdict in favor of Dr. Wright.
         On the other hand, if you find that Ira Kleiman, on behalf of the estate of Dave
  Kleiman, or W&K proved, by a preponderance of the evidence, that Dr. Wright owed them it a
  fiduciary duty and breached that fiduciary duty, and that the breach was the proximate cause
  of their its claimed damages, then you will next consider the issue of the amount of
  compensatory money damages to be awarded to the plaintiffsW&K.



                                                   7
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 8 of 22




  Compensatory Damages
         Compensatory damages are those damages shown to be legally (or proximately) caused
  by Dr. Wright’s allegedly wrongful action. You may award each plaintiff you find in favor
  ofW&K only those damages shown to be proximately caused by Dr. Wright’s breaches. The
  date for calculating damages for breach of fiduciary duty must be measured as of the date of
  the breach. The dollar amount of any damages must be calculated based on all the evidence
  presented to you and must serve as a remedy for the plaintiffs’ losses.



  ________________________
  Authorities:

  Quinn v. Phipps, 93 Fla. 805, 811, 113 So. 419, 421 (1927); Cassedy v. Alland Inv. Corp., 128
  So. 3d 976, 978 (Fla. 1st DCA 2014); Crusselle v. Mong, 59 So. 3d 1178, 1181 (Fla. 5th DCA
  2011); Doe v. Evans, 814 So. 2d 370, 374 (Fla. 2002); Florida Standard Jury Instructions in Civil
  Cases, Breach of Fiduciary Duty: Legal Cause 451.6(a), August 29, 2019; Haddad v. Rav.
  Bahamas, Ltd., 589 F. Supp. 2d 1302, 1307 (S.D. Fla. 2008).


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  DENIED                                      ___________________________




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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 9 of 22




                                 Definition of an Oral Partnership

         Ira Kleiman claims that Dr. Wright and David Kleiman entered into an oral
  partnership to mine bitcoins and develop Bitcoin-related technology. Ira Kleiman alleges that
  this oral partnership lasted from sometime in 2008 until February of 2011. Again, Dr. Wright
  denies that such an oral partnership existed.
         Under Florida law, an oral partnership may exist when two or more persons join
  together in a business or venture. Although not based on a written contract, an oral
  partnership must include each of the following elements, the specifics of which are known and
  agreed to by each partner:
         (1) a common purpose;
         (2) a joint proprietary interest in the subject matter or purpose of the oral partnership;
         (3) the right to share profits and the duty to share losses; and
         (4) joint control or right of control over the oral partnership.
         Plaintiffs must prove each of these elements by a preponderance of the evidence to
  establish the existence of an oral partnership.
         In addition, there must be evidence of a meeting of the minds between David Kleiman
  and Dr. Wright on the essential terms of the partnership agreement, including the
  partnership’s duration, the parties’ obligations to one another, and the specific financial terms
  of the alleged partnership.
  _______________________
  Authorities:

  Williams v. Obstfeld, 314 F.3d 1270, 1275 (11th Cir. 2002); Dreyfuss v. Dreyfuss, 701 So. 2d
  437, 438-39 (Fla. 3d DCA 1997).

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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 10 of 22




                          Breach of Partnership Duties of Loyalty and Care

          Ira Kleiman, as personal representative of the estate of Dave Kleiman, alleges that Dr.
   Wright breached duties of loyalty and care owed to Dave Kleiman as partners in an oral
   partnership. Under Florida law, partners owe the fiduciary duties of loyalty and care to each
   other and to the partnership. I will break down the definition of these two duties for you.
   Duty of Loyalty
          The duty of loyalty requires partners to: (1) account to the partnership, and hold for it
   as trustee, the property, profit or benefit derived by the partner for that partnership; (2) refrain
   from dealing with the partnership as a person having an interest adverse to the partnership;
   and (3) refrain from competing with the partnership.
   Duty of Care
          The duty of care is limited to refraining from engaging in grossly negligent or reckless
   conduct, intentional misconduct, or a knowing violation of the law. Gross negligence is an
   indifference to duty amounting to actions that are outside the bounds of reason. In other
   words, gross negligence consists of conduct so reckless or wanting in care that it constitutes a
   conscious disregard or indifference to the life, safety, or rights of persons exposed to such
   conduct.
   Claim of Breach of Duties of Loyalty and Care
          To prevail on this claim, Ira Kleiman, as personal representative of Dave Kleiman’s
   estate, must prove:
          (1) that Dr. Wright owed Dave Kleiman duties of loyalty and care as partners in an
              oral partnership;
          (2) that Dr. Wright intentionally, recklessly, or grossly breached his duty of loyalty and
              care by one of the abovementioned acts; and
          (3) that Dr. Wright’s breaches are the proximate cause of Ira Kleiman’s damages.
          The breach of duty of loyalty or duty of care must be the proximate cause of the
   damage. For an act or course of dealing to be the proximate cause of damage, it must be
   proven that the act or course of dealing played a substantial part in producing the injury or
   damage, that if such conduct hadn’t occurred, the injury or damage would not have occurred,
   and that the injury or damage was the necessary or proximate result of the act or course of
   dealing.


                                                   10
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 11 of 22




          If you find that Ira Kleiman failed to carry his burden of proving that an oral
   partnership existed between Dr. Wright and Dave Kleiman, or that Dr. Wright did not owe
   Dave Kleiman duties of loyalty and care, or that Dr. Wright owed but did not breach such
   duties of loyalty and care, or that Ira Kleiman’s damages were not the proximate result of a
   breach by Dr. Wright, then you must return a verdict in favor of Dr. Wright.
          If, on the other hand, you find that Ira Kleiman proved, by a preponderance of the
   evidence, that an oral partnership existed, that Dr. Wright owed Dave Kleiman the duties of
   loyalty and care, that Dr. Wright breached those duties, and that Dr. Wright’s breaches were
   the proximate cause of Ira Kleiman’s damages, then you must return a verdict against Dr.
   Wright for the appropriate claim or claims, and next consider the issue of the amount of
   money damages to be awarded to the estate of Dave Kleiman.
   Compensatory Damages:
          Compensatory damages are those damages shown to be legally (or proximately) caused
   by Dr. Wright’s wrongful action. You may award Ira Kleiman only those damages shown to be
   proximately caused by Dr. Wright’s breach of duty of care and duty of loyalty owed to Dave
   Kleiman. The date for calculating damages for breach of duty if loyalty and duty of care is the
   date of the breach. The dollar amount of any such damages must be calculated based on all
   the evidence presented to you and must serve as a remedy for losses, if any, suffered by the
   estate of Dave Kleiman.
   ________________________
   Authorities:

   Fla. Stat. § 620.8404; Florida Standard Jury Instructions in Civil Cases, Breach of Fiduciary
   Duty: Legal Cause 451.6(a), August 29, 2019; Haddad v. Rav. Bahamas, Ltd. 589 F. Supp. 2d
   1302, 1307 (S.D. Fla. 2008).

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   DENIED                                      ___________________________




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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 12 of 22




                                          Constructive Fraud

          Plaintiffs have each alleged a claim for constructive fraud against Dr. Wright.
   Constructive fraud is similar to a breach of fiduciary duty claim, in that it occurs when a duty
   under a confidential or fiduciary relationship has been intentionally breached. It can also
   occur where an unconscionable advantage has been taken. Constructive fraud may be based
   on intentional misrepresentation or concealment, or may consist of taking an improper
   advantage of the fiduciary relationship at the expense of the confiding, or weaker, party.
   Constructive fraud does not apply where the parties are dealing at arms-length, because there
   is no duty imposed on either party to protect or benefit the other.
   Structure of Claim:
          In order to recover on this claim, plaintiffs must prove:
          (1) the existence of a relationship of trust and confidence between plaintiffs and Dr.
              Wright;
          (2) that the defendantDr. Wright intentionally took unlawful advantage of that position
              of trust in order to benefit himself; and
          (3) that plaintiffs were injured as a proximate result of the misconduct.
          The existence of a fiduciary or confidential relationship is often evidenced by some
   degree of dependency on one side, and some degree of undertaking on the other side to advise,
   counsel, and protect the weaker party.
          Ira Kleiman and W&K allege that Dr. Wright invited them to trust him as their
   fiduciary, which they then did, and that Dr. Wright violated that duty by taking advantage of
   their trust to make false statements and committed other unlawful acts against them, including
   lying about transferring bitcoins and intellectual property that belonged to them, failing to
   disclose that he was pursuing judgments against W&K in Australia, and that he’d assumed
   control over W&K and its assets as well as the estate’s assets. To prevail on this claim,
   plaintiffs must prove that Dr. Wright had a fiduciary duty to them and unlawfully abused their
   trust, thus taking an improper and unconscionable advantage of that fiduciary relationship to
   benefit himself.
          If you find that Ira Kleiman and W&K did not carry their burden of proving, by a
   preponderance of the evidence, each of the elements of a constructive fraud claim, then you
   must return a verdict in favor of Dr. Wright. If you find that Ira Kleiman and W&K proved, by


                                                   12
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 13 of 22




   a preponderance of the evidence, all the elements of this claim, then you must find against Dr.
   Wright and next consider the issue of the amount of damages to be awarded to the plaintiffs.
   Compensatory Damages:
          Compensatory damages are those damages shown to be proximately caused by Dr.
   Wright’s wrongful conduct. Proximate causation essentially consists of two requirements:
   cause in fact and foreseeability. Damages for a constructive fraud claim are calculated from
   the time defendant intentionally took unlawful advantage of that position of trust in order to
   benefit himself. The dollar amount of any such damages must be calculated based on all the
   evidence presented to you and must serve as a remedy for losses, if any, suffered by Dave
   Kleiman and W&K.
   Punitive Damages:
          Under Florida law, you may also award punitive damages for a constructive fraud
   claim. If you find for plaintiffs and against Dr. Wrigh as to constructive fraud, you must
   decide whether, in addition to compensatory damages, punitive damages are warranted as
   punishment to Dr. Wright and as a deterrent to others. An award of punitive damages may not
   exceed the greater of three times the amount of compensatory damages awarded to each
   claimant entitled thereto, or $500,000.
          Punitive damages are a form of extraordinary relief for acts and omissions so
   egregious as to jeopardize not only the particular plaintiff in the lawsuit, but the public as a
   whole, such that a punishment—not merely compensation—must be imposed to prevent
   similar conduct in the future. You may only award punitive damages if you determine, based
   on clear and convincing evidence, that Dr. Wright personally committed intentional
   misconduct or gross negligence, which was the proximate cause of the plaintiffs’ loss.
          “Intentional misconduct” means that Dr. Wright had actual knowledge or reason to
   know of the wrongfulness of his conduct and the high probability that injury to Dave Kleiman
   and W&K would result and, despite that knowledge, intentionally or recklessly pursued that
   course of conduct. “Gross negligence” means conduct that was not only negligent, but so
   extremely careless that it constituted a conscious disregard for the life, safety, or rights of
   Dave Kleiman and W&K. If clear and convincing does not show such conduct by Dr. Wright,
   then punitive damages may not be awarded. Please remember that the clear and convincing
   evidence standard that you must apply is a higher standard than the preponderance of the



                                                    13
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 14 of 22




   evidence standard and requires you to conclude that the claim is highly probable or
   reasonably certain, not merely more likely true than not true. Clear and convincing evidence is
   evidence that is precise, explicit, lacking in confusion, and of such weight that it produces a
   firm belief or conviction, without hesitation, about the matter in issue.
   ________________________
   Authorities:

   BDO Seidman, LLP v. Banco Espirito Santo Int’l, 38 So. 3d 874, 876 (Fla. 3d DCA 2010); Beers
   v. Beers, 724 So.2d 109, 116-17 (Fla. 5th DCA 1998); Wishinsky v. Choufani, 278 So. 3d 803,
   805 (Fla. 5th DCA 2019); Am. Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F. Supp.
   2d 1170, 1179 (M.D. Fla. 2005); Fla. Stat. §§ 768.72; Florida Standard Jury Instructions in Civil
   Cases, Personal Injury and Property Damages: Introduction 501.1(b); Punitive Damages – Non-
   Bifurcated Procedure 503.2, August 29, 2019.


   GIVEN                                        ___________________________
   GIVEN AS MODIFIED                            ___________________________
   WITHDRAWN                                    ___________________________
   GRANTED                                      ___________________________
   DENIED                                       ___________________________




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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 15 of 22




                                               Civil Theft

   “Clear and Convincing Evidence” Burden of Proof:
           Ira Kleiman and W&K claim that Dr. Wright committed civil theft. This claim requires
   the “clear and convincing evidence” burden of proof. Please remember that the clear and
   convincing evidence standard you must apply is a higher standard than the preponderance of
   the evidence standard and requires you to conclude that the claim is highly probable or
   reasonably certain, not merely more likely true than not true. Clear and convincing evidence is
   evidence that is precise, explicit, lacking in confusion, and of such weight that it produces a
   firm belief or conviction, without hesitation, about the matter in issue.
   Structure of Claim:
           Under Florida law, the elements of civil theft require plaintiffs to establish by clear and
   convincing evidence that:
           (1) the defendant knowingly obtained or used, or attempted to obtain or use, plaintiffs’
   property;
           (2) with criminal intent; that is, with the intent to temporarily or permanently deprive
   plaintiffs of their property; and if so,
           (3) that the defendant’s wrongful conduct was the proximate cause of injury or damage
   to plaintiffs.
           A party’s wrongful conduct is the proximate cause of injury or damage if it directly and
   in natural and continuous sequence produces or contributes substantially to producing the
   injury or damage, so that it can reasonably be said that that if such conduct hadn’t occurred,
   the injury or damage would not have occurred, and that the injury or damage was the
   necessary or proximate result of the conduct.
           To recover on this claim, Ira Kleiman, on behalf of the estate of Dave Kleiman, and
   W&K must prove that:
           (1) Dr. Wright intentionally took bitcoins and intellectual property that belonged to the
               plaintiffs, and did so with criminal intent;
           (2) Dr. Wright intended to permanently deprive the plaintiffs of their property; and
           (3) Dr. Wright’s actions were the legal cause of injury to the plaintiffs.
           If you find that Ira Kleiman and W&K failed to prove by clear and convincing evidence
   each element of civil theft, you must return a verdict in favor of Dr. Wright. If you find for Ira


                                                    15
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 16 of 22




   Kleiman or W&K on these claims, you will then consider the issue of the amount of money
   damages to be awarded to each plaintiff.
   Civil Theft Damages:
          You may award the plaintiffs only actual damages shown to be proximately caused by
   Dr. Wright’s wrongful conduct. Damages are the proximate result of the wrongful act of
   another, if you find from clear and convincing evidence that if the wrongful conduct had not
   occurred, the damages would not have occurred, and that the damages were the necessary or
   proximate result of the wrongful conduct. The amount of damages must also be established by
   clear and convincing evidence and cannot be based on speculation or guesswork. The date for
   calculating damages is the date of the purported theft. The amount of any damages must be
   calculated based on all the evidence presented to you and must serve as a remedy for the
   plaintiffs’ losses, if any, and not a punishment for Dr. Wright’s conduct.



   ________________________
   Authorities:

   Fla. Stat. § 772.11, Florida Standard Jury Instructions in Civil Cases, Civil Theft: Legal Cause
   411.4(a); Issues on Claim 411.5(a), Burden of Proof on Claim 411.6; Civil Theft Damages 411.7,
   August 29, 2019; R.J. Reynolds Tobacco Co. v. Gafney, 188 So. 3d 53, 58 (Fla. 4th DCA 2016);
   Carter v. State, 77 So. 3d 849, 851 (Fla. 2d DCA 2012); Koster v. Phillips, 2013 WL 8433654, at
   *1 (Fla. Cir. Ct. June 12, 2013); Wright v. Logan, 2011 WL 13175744, at *6 (M.D. Fla. 2011).

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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 17 of 22




                                                Fraud

   Structure of Claim:
          Ira Kleiman and W&K claim Dr. Wright committed fraud. Under Florida law, there
   are four requirements to establish a claim for fraud:
          (1) a false statement or representation concerning a material fact;
          (2) the representor’s knowledge that the representation is false;
          (3) the representor’s intention that the representation induce another to act on it; and
          (4) resulting injury to the party acting in reasonable reliance on the representation.
          Plaintiffs allege that Dr. Wright made fraudulent statements concerning material facts
   on which Ira Kleiman and W&K reasonably relied, which caused them damage.
          If you find that Ira Kleiman and W&K did not carry their burden of proving, by a
   preponderance of the evidence, each of the four elements of a fraud claim, then you must
   return a verdict in favor of Dr. Wright. If, on the other hand, you find that Ira Kleiman and
   W&K proved their fraud claims by a preponderance of the evidence, then you must return a
   verdict against Dr. Wright for the appropriate claim or claims, and next consider the issue of
   the amount of money damages to be awarded to the plaintiffs.
   Compensatory Damages:
          Compensatory damages are those damages shown to be proximately caused by Dr.
   Wright’s wrongful conduct. The date for calculating damages for a fraud claim is the date of
   the fraudulent representation. The dollar amount of any such damages must be calculated
   based on all the evidence presented to you and must serve as a remedy for losses, if any,
   suffered by Dave Kleiman and W&K.




                                                  17
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 18 of 22




   Punitive Damages:

          Under Florida law, you may also award punitive damages for a fraud claim. If you find
   for plaintiffs and against Dr. Wright for fraud, you must decide whether, in addition to
   compensatory damages, punitive damages are warranted as punishment to Dr. Wright and as
   a deterrent to others. An award of punitive damages may not exceed the greater of three times
   the amount of compensatory damages awarded to each claimant entitled thereto, or $500,000.
          Punitive damages are a form of extraordinary relief for acts and omissions so
   egregious as to jeopardize not only the particular plaintiff in the lawsuit, but the public as a
   whole, such that a punishment—not merely compensation—must be imposed to prevent
   similar conduct in the future.
          You may only award punitive damages if you determine, based on clear and convincing
   evidence, that Dr. Wright personally committed intentional misconduct or gross negligence,
   which was the proximate cause of the plaintiffs’ loss.
          “Intentional misconduct” means that Dr. Wright had actual knowledge or reason to
   know of the wrongfulness of his conduct and the high probability that injury to Dave Kleiman
   and W&K would result and, despite that knowledge, intentionally or recklessly pursued that
   course of conduct. “Gross negligence” means that the conduct was so reckless that it
   constituted a conscious disregard or indifference to the life, safety, or rights of Dave Kleiman
   and W&K. If clear and convincing evidence does not show such conduct by Dr. Wright, then
   punitive damages may not be awarded. Please remember that the clear and convincing
   evidence standard that you must apply is a higher standard than the preponderance of the
   evidence standard and requires you to conclude that the claim is highly probable or
   reasonably certain, not merely more likely true than not true. Clear and convincing evidence is
   evidence that is precise, explicit, lacking in confusion, and of such weight that it produces a
   firm belief or conviction, without hesitation, about the matter in issue.

   ________________________
   Authorities:

   BDO Seidman, LLP v. Banco Espirito Santo Int’l, 38 So. 3d 874, 876 (Fla. 3d DCA 2010);
   Townsend v. Morton, 36 So. 3d 865, 868 (Fla. 5th DCA 2010) (quoting Johnson v. Davis, 480
   So.2d 625, 627 (Fla. 1985)); Hollister Inc. v. Zassi Holdings, Inc., 752 F. App’x 888, 893 (11th
   Cir. 2018); Minotty v. Baudo, 42 So. 3d 824, 835 (Fla. 4th DCA 2010); Florida Standard Jury



                                                   18
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 19 of 22




   Instructions in Civil Cases, Punitive Damages – Non-Bifurcated Procedure 503.2, August 29,
   2019.

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                                                19
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 20 of 22




                                          Unjust Enrichment

          Plaintiffs have each alleged a claim for unjust enrichment against Dr. Wright. Ira
   Kleiman and W&K allege that Dr. Wright unlawfully benefitted from bitcoins and intellectual
   property that he misappropriated for himself. Under Florida law, Ira Kleiman and W&K may
   seek damages, including all monies and properties Dr. Wright obtained by his wrongful
   conduct.
   Structure of Claim:
          To establish the elements of a cause of action for unjust enrichment under Florida law,
   plaintiffs must prove that:
              (1) plaintiffs conferred a benefit on the defendant, who had knowledge for the
              benefit;
              (2) defendant voluntarily accepted and retained the benefit conferred; and
              (3) the circumstances are such that it would be inequitable for the defendant to
                  retain the benefit without paying the value of it.
              To prevail on this claim, Ira Kleiman, on behalf of Dave Kleiman’s estate and
      W&K must prove that:
              (1) they conferred benefits on Dr. Wright;
              (2) Dr. Wright accepted these benefits and retained them; and
              (3) it would be inequitable for Dr. Wright to not compensate the plaintiffs for the
                  value obtained.
          If you find that Ira Kleiman and W&K failed to prove, by a preponderance of the
   evidence, each element of their unjust enrichment claim, you must return a verdict in favor of
   Dr. Wright. On the other hand, if you find for either or both of the plaintiffs on this claim, you
   will then consider the issue of the amount of damages in the form of equitable relief to be
   awarded to the plaintiffs.
   Equitable Relief:
          Under Florida law, in an unjust enrichment claim, when the defendant has acted in
   conscious disregard of the plaintiffs’ rights, the whole of the resulting gain is treated as unjust
   enrichment, even though the defendant’s gain may exceed both (i) the measurable injury to
   the claimant, and (ii) the reasonable value of a license authorizing the defendant's conduct.
   The date for the calculation of damages for unjust enrichment is the date when the benefit


                                                   20
Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 21 of 22




   was conferred on Dr. Wright. The dollar amount of any such damages must be calculated
   based on all the evidence presented to you and may not be based on speculation.
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   Authorities:

   Degutis v. Fin Freedom, LLC, 978 F. Supp. 2d 1243, 1265 (M.D. Fla. 2013); Berry v. Budget
   Rent A Car Sys., Inc., 497 F. Supp. 2d 1361 (S.D. Fla. 2007); State Farm Mut. Auto. Ins. Co. v.
   Medical Service Center of Fla., 103 F. Supp. 3d 1343, 1355 (S.D. Fla. 2015); Duty Free World,
   Inc. v. Miami Perfume Junction, Inc., 253 So.3d 689, 693 (Fla. 3d DCA 2018); Kane v. Stewart
   Tilghman Fox & Bianchi, P.A., 85 So. 3d 1112, 1115 (Fla. 4th DCA 2012); In re Burton Wiand
   Receivership Cases Pending in the Tampa Div. of the Middle Dist. of Fla., 2008 WL 818504, at
   *8 (M.D. Fla. 2008); Beltran v. Vincent P. Miraglia, M.D., P.A., 125 So. 3d 855, 859 (Fla. 4th
   DCA 2013); State of Fla., Off. of Atty. Gen., Dep’t of Legal Affs. v. Tenet Healthcare Corp., 420
   F. Supp. 2d 1288, 1309 (S.D. Fla. 2005); Grp. Assests, LLC. v. Fortress Inv. Grp., 2010 WL
   2951508, at *4 (M.D. Fla. 2010).


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Case 9:18-cv-80176-BB Document 795 Entered on FLSD Docket 11/20/2021 Page 22 of 22




                                Damages – Not Speculative in Nature


                  If you find for the plaintiffs on any of their claims, you must consider the

   matter of damages. It is incumbent upon a plaintiff at trial to present evidence upon which a

   reasonably ascertainable amount of damages may be based. Damages may not be based on

   speculation, conjecture or guesswork. You should assess the amount you find to be justified by

   the greater weight of the evidence as full, just and reasonable compensation, no more and no

   less. Compensatory damages are not allowed as a punishment and must not be imposed or

   increased to penalize Dr. Wright. Where there is no proof of damages, there can be no

   recovery of damages.________________________

   Authorities:

   Fla. Ventilated Awning Co. v. Dickson, 67 So. 2d 215, 217–18 (Fla. 1953); Schimpf v. Reger,
   691 So. 2d 579, 580 (Fla. 2d DCA 1997); Broxmeyer v. Elie, 647 So. 2d 893, 895 (Fla. 4th DCA
   1994); United Steel & Strip Corp. v. Monex Corp., 310 So. 2d 339, 342 (Fla. 3d DCA 1975);
   Fla. Outdoor, Inc. v. Stewart, 318 So. 2d 414, 415 (Fla. 2d DCA 1975); Rockmatt Corp. v.
   Ehrlich, 294 So. 2d 412, 414 (Fla. 3d DCA1974); Berwick Corp. v. Kleinginna Inv. Corp., 143
   So. 2d 684, 689 (Fla. 3d DCA 1962)



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